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                              UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA

    SONY MUSIC ENTERTAINMENT, et al.,

                             Plaintiffs,
                                                           Case No. 1:18-cv-00950-LO-JFA
                     v.
                                                           (Hearing and Oral Argument Waived)
    COX COMMUNICATIONS, INC., et al.,

                             Defendants.


           COX’S EMERGENCY MOTION TO EXCEED PAGE LIMIT FOR ITS
         MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

                                                Hearing Waived

           Pursuant to Local Rule 7(F)(3), Cox respectfully requests that this Court allow it, for

good cause shown, to exceed the thirty (30) page limit set forth in the Local Rules for the filing

of Cox’s Memorandum in Support of Motion for Summary Judgment.1 Cox respectfully requests

leave to file a Memorandum of up to forty (40) pages. Cox’s reasons for seeking relief are set

forth in the accompanying Memorandum, and a [proposed] Order granting the requested relief is

attached hereto.

           In light of the upcoming deadline for filing summary judgment motions, Cox waives a

hearing and oral argument on this issue.

Dated: August 25, 2019

                                                              Respectfully submitted,

                                                              /s/ Thomas M. Buchanan
                                                              Thomas M. Buchanan (VSB No. 21530)
                                                              WINSTON & STRAWN LLP
                                                              1700 K Street, NW
                                                              Washington, DC 20006-3817
                                                              Tel: (202) 282-5787

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    Cox will be filing its Motion for Summary Judgment and supporting papers on August 30, 2019.
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                                              Fax: (202) 282-5100
                                              Email: tbuchana@winston.com

                                              Attorney for Cox Communications, Inc.
                                              and CoxCom, LLC

Of Counsel for Defendants

Michael S. Elkin (pro hac vice)
Thomas Patrick Lane (pro hac vice)
WINSTON & STRAWN LLP
200 Park Avenue
New York, NY 10166-4193
Telephone: (212) 294-6700
Facsimile: (212) 294-4700
Email: melkin@winston.com
Email: tlane@winston.com

Jennifer A. Golinveaux (pro hac vice)
WINSTON & STRAWN LLP
101 California Street, 35th Floor
San Francisco, CA 94111-5840
Telephone: (415) 591-1000
Facsimile: (415) 591-1400
Email: jgolinveaux@winston.com

Diana Hughes Leiden (pro hac vice)
WINSTON & STRAWN LLP
333 S. Grand Avenue, Suite 3800
Los Angeles, CA 90071
Telephone: (213) 615-1700
Facsimile: (213) 615-1750
Email: dhleiden@winston.com




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                                CERTIFICATE OF SERVICE

        I hereby certify that on August 25, 2019, the foregoing was filed and served
electronically by the Court’s CM/ECF system upon all registered users.


                                                    /s/ Thomas M. Buchanan
                                                    Thomas M. Buchanan (VSB No. 21530)
                                                    1700 K Street, NW
                                                    Washington, DC 20006-3817
                                                    Tel: (202) 282-5787
                                                    Fax: (202) 282-5100
                                                    Email: tbuchana@winston.com

                                                    Attorney for Cox Communications, Inc.
                                                    and CoxCom, LLC
